Case 2:04-cv-02666-.]DB-dkv Document 49 Filed 08/17/05 Page 1 of 3 Page|D 45

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 
 
 

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v. No. 04-2666~B/V

MERRYLAND CHILD CARE AND DEVELOPMENT
CENTER, INC., a/k/a MERRYLAND KINDERGARTEN,
INC., a/k/a MERRYLAND KINDERGARTEN AND
DAY CARE CENTER, INC., et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court are the Plaintiff’s motions for default judgment against three
Defendants, lvan L. Ward, Lavada Herman and Michael L. Taylor, filed on August 15, 2005.
These motions are referred to the magistrate judge for determination and/or report and
recommendation and for a hearing, if necessary, to establish the truth of any contention in the
complaint or to consider other evidence in order to make her findings, pursuant to Rule 55(b),
Federal Rules of Civil Procedure.

Any objections to the magistrate judge’s order and/or report and recommendation shall
be made Within ten (10) days after service of the order/report, setting forth particularly those
portions of the order/report objected to and the reasons for the objections Failure to timely
assign as error a defect in the magistrate judge’s order/report will constitute a Waiver of that
objection. B Rule 72(a), Federal Rules of Civil Procedure.

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d J. DANIEL BREEN \
ED STATES DISTRICT JUDGEzi

 

 

UNIED TATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CV-02666 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

